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LHE:RAS
F. #2021R00528

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


                                              )
UNITED STATE OS AMERICA                       )
                                              )
               v.                             )       Case No. 21-CR-296 (RPK)
                                              )
       ALI ALAHERI                            )



                                      PROPOSED ORDER

               IT IS HEREBY ORDERED that, this Court having found by a preponderance of

the evidence that the defendant ALI ALAHERI is presently suffering from a mental disease or

defect rendering him mentally incompetent to the extent that he is unable to assist properly in his

defense, the defendant ALI ALAHERI be committed to the custody of the Attorney General

pursuant to Title 18, United States Code, Section 4241(d);

               IT IS FURTHER ORDERED that, pursuant to Title 18, United States Code,

Section 4241(d), the Attorney General shall hospitalize the defendant ALI ALAHERI for

treatment in a suitable facility for such a reasonable period of time, not to exceed four months, as

is necessary to determine whether there is a substantial probability that in the foreseeable future

the defendant ALI ALAHERI will attain the capacity to permit the proceedings to go forward;

               IT IS FURTHER ORDERED that by September 30, 2022, the Bureau of Prisons

(“BOP”) shall provide a report to the Court advising whether the defendant ALI ALAHERI has
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been placed in a facility for treatment and, if the defendant ALI ALAHERI has not been so

placed, advising the Court of the estimated timing of such placement; and

              IT IS FURTHER ORDERED that the BOP provide a written report after the

defendant ALI ALAHERI has been residing at the treatment facility for 90 days, detailing

whether the defendant ALI ALAHERI has been prescribed any psychiatric medications to restore

his competency and whether the defendant ALI ALAHERI has been compliant with such

treatment. If the defendant ALI ALAHERI is not compliant with the course of treatment

recommended by the BOP, the status report should also advise whether the evaluator

recommends involuntary treatment for purposes of competency restoration pursuant to Sell v.

United States, 539 U.S. 166 (2003).


                                                       /S/ Rachel Kovner
                                            THE HONORABLE RACHEL P. KOVNER
                                            UNITED STATES DISTRICT JUDGE
                                            EASTERN DISTRICT OF NEW YORK
August ___,
       24 2022




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